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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

AMERICAN CIVIL LIBERTIES UNION       )
and AMERICAN CIVIL LIBERTIES UNION   )
FOUNDATION,                          )
                                     )
     Plaintiffs,                     )                     Civil Action No. 1:16-cv-1256 (EGS)
                                     )
     v.                              )
                                     )
CENTRAL INTELLIGENCE AGENCY, et al., )
                                     )
     Defendants.                     )
                                     )
                                     )



     DEFENDANT CENTRAL INTELLIGENCE AGENCY’S OPPOSITION TO
   PLAINTIFFS’ MOTION TO EXTEND TIME FOR FILING NOTICE OF APPEAL


                                       INTRODUCTION

       On February 11, 2022 Plaintiffs American Civil Liberties Union and American Civil

Liberties Foundation (collectively, “the ACLU,” or “Plaintiffs”) filed a motion to extend their

time to appeal the Court’s judgment in this case (“Pls.’ Mot.”), Dkt. No. 73. Plaintiffs rely on

Federal Rule of Civil Procedure 58(e) as grounds to extend an appeal deadline that has already

expired. Because Plaintiffs failed to make a Rule 58(e) motion prior to the expiration of the

deadline, however, this Court cannot grant Plaintiffs’ motion. The time to appeal is

jurisdictional, and the time to move the district court to suspend the deadline has passed.




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                                           ARGUMENT

    THIS COURT CANNOT GRANT A RULE 58(e) MOTION AFTER THE APPEAL
                       DEADLINE HAS PASSED

       This Court entered judgment in favor of the CIA on December 8, 2021, Dkt. No. 71, and

as Plaintiffs acknowledge, the 60-day appeal period established by Federal Rule of Appellate

Procedure (“FRAP”) 4(a)(1)(B)(ii) expired on February 7, 2022. Plaintiffs contend, however,

that “Federal Rule of Civil Procedure [(“FRCP”)] 58(e) permits the Court to extend the time for

filing a notice of appeal” in the circumstances presented here. Pls. Mot. at 1. Specifically,

Plaintiffs argue that because they previously obtained an extension through and including

February 21, 2022 to file a petition for attorney’s fees pursuant to FRCP 54(d)(2), the Court may

exercise its discretion under FRCP 58(e) to extend their appeal deadline, even after the 60-day

appeal period has closed. See Pls.’ Mot. at 1 (citing FRAP 4(a)(4)(A)(iii)).

     Plaintiffs’ reading of the interplay between FRAP 4(a)(4)(A)(iii) and FRCP 58(e) does not

withstand scrutiny. FRAP 4(a)(4)(A)(iii) sets forth a limited exception to the 60-day appeal

deadline, providing that where “a party files in the district court,” certain specified post-

judgment motions—“and does so within time allowed” for such motions by the FRCP—“the

time to file an appeal runs for all parties from the entry of the order disposing of the last such

remaining motion[.]” FRAP 41(a)(4)(A). Among such motions is a motion “for attorney's fees

under [FRCP] 54”—but only “if the district court extends the time to appeal under Rule 58.” Id.

(emphasis added). FRCP 58(e), in turn, provides that, “if a timely motion for attorney’s fees is

made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become

effective to order that the motion have the same effect under Federal Rule of Appellate Procedure

4(a)(4) as a timely motion under Rule 59.” Fed. R. Civ. P. 58(e) (emphasis added); see also Fed.


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R. Civ. P. 59 (providing for motions for new trial and motions to alter or amend a judgment);

Fed. R. App. P. 41(a)(4)(A)(iv) (providing that at timely post-judgment motion under FRCP 59

tolls the appeal deadline).

     As all three Circuit courts to have considered the issue have concluded, a Rule 58(e)

motion may only be granted if it is made before the default appeal period (here, 60 days) has

expired. See Robinson v. City of Harvey, 489 F.3d 864, 868 (7th Cir. 2007); Burnley v. City of

San Antonio, 470 F.3d 189, 199 (5th Cir. 2006); Mendes Junior Int’l Co. v. Banco de Brasil,

S.A., 215 F.3d 306, 315 (2d Cir. 2000). As the court in Mendes Junior explains, construing Rule

58(e) to allow a district court to reopen an expired appeal period is both inconsistent with the

plain language of Rule 58(e), and “inimical to the sanctity of final judgments, which the strict

deadlines imposed by [Appellate Rule] 4(a) are designed to protect.” 215 F.3d at 313.

     The Second Circuit set forth three reasons supporting its conclusion that a district court is

prohibited from granted a Rule 58(e) motion after the appeal period has expired. First, the

requirement that a Rule 58(e) order “must be entered ‘before a notice of appeal . . . has become

effective’ mean[s] that such order may be entered only while there exists the possibility, under

the provisions governing appellate jurisdiction, that a notice of appeal from the judgment could

become effective.” Id. (emphasis added). But where, as here, the appeal period has run, no such

possibility exists. See Robinson, 489 F.3d at 869 (noting the “impossib[ity]” of an effective

notice of appeal “once the time for appeal prescribed by [FRAP 4] has expired”). Second,

although Rule 58(e) was meant to serve judicial efficiency by allowing the judgments on the

merits and costs to be bundled together before appeal, this goal would be undermined if 58(e)

could be used to “resuscitate an expired right to appeal.” Mendes Junior, 215 F.3d at 313-14.

Finally, allowing a Rule 58(e) order to “revive an expired right to appeal would subvert the

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certainty and stability” which are of “first importance in the appellate practice of the federal

courts.” Mendes Junior, 306 F.3d at 313 (internal citation omitted); see also id. at 315 (noting

that because district courts have authority to extend the time to file a timely attorney’s fee motion

under Rule 54(d)(2)(B), a contrary rule would have the consequence of allowing a fees motion

filed months after an un-appealed final judgment to threaten the finality of that judgment).

        Thus, as courts that have considered the issue have consistently held, “Rule 58(e) cannot

be invoked to extend the appeal period once the appeal period has run[.]” Elec. Priv. Info. Ctr. v.

U.S. Dep’t of Homeland Sec., 811 F. Supp. 2d 216, 225 n.2 (D.D.C. 2011)); see also, e.g.,

MidCap Media Fin., L.L.C. v. Pathway Data, Inc., 857 F. App’x 786, 791 (5th Cir. 2021)

(affirming and applying Burnley’s holding that Rule 58(e) “authorizes a district court to delay the

finality of a judgment to allow parties to appeal the merits judgment and the fee judgment at the

same time if the district court issues such order before,” inter alia, “the merits judgment has

become final and unappealable”) (emphasis added); Singh v. 7-Eleven, Inc., No. CV 20-11769-

JFW(KKX), 2021 WL 6104796, at *1 (C.D. Cal. Aug. 16, 2021) (denying Rule 58(e) motion on

the ground that the plaintiff “did not file his request for an extension until after the deadline to

file his notice of appeal expired”); Nasser v. WhitePages, Inc., No. 5:12CV00097, 2014 WL

3058570, at *8-9 (W.D. Va. July 2, 2014) (“A court may not enter a Rule 58(e) order tolling the

time to note an appeal after the time for appeal has expired.”); Amo v. Baccash, No. CV 07-663

PSG JWJX, 2008 WL 5179022, at *2 (C.D. Cal. Dec. 9, 2008) (“[W]hile Rule 58(e) authorizes a

court to delay the clock for filing the notice of appeal, a court can only delay the clock when

there is time left on it. It was incumbent upon [the losing party] to file a request to toll the statute

before the time to appeal expired; their failure to do so means that they cannot now avail

themselves of Rule 58(e).”); FRAP 4, 2016 Committee Notes (confirming that “[a] motion made

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after the time allowed by the Civil Rules will not qualify as a motion that, under Rule 4(a)(4)(A),

re-starts the appeal time—and that fact is not altered by,” inter alia, “a court order that sets a

due date that is later than permitted by the Civil Rules[.]”).

       Because the appeal deadline set by FRCP 4 is jurisdictional, the Supreme Court has

cautioned that federal courts have no authority “to create equitable exceptions” to the

deadline. Bowles v. Russell, 551 U.S. 205, 214 (2007). Although FRAP 4(a)(4)(A)(iii) and FRCP

58(e) would have afforded the Court discretion to extend the applicable jurisdictional deadline

before its conceded expiration on February 7, 2022, both the plain text of these rules and

applicable case law confirm that no such discretion remains. By failing to file their motion on or

before February 7, 2022, Plaintiffs forfeited their right to seek the requested relief.

                                          CONCLUSION

       For all the reasons stated above, Plaintiffs’ motion to extend the time for filing an appeal

should be denied.



                                               Respectfully submitted,

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